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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


 IN RE: AQUEOUS FILM-                 MDL No. 2:18-mn-2873-RMG
 FORMING FOAMS
 PRODUCTS LIABILITY                   This Order Relates To
 LITIGATION                           City of Camden, et al., v. 3M Company,
                                      No. 2:23-cv-03147-RMG




       The Court will utilize the following format for the February 2, 2024 Fairness Hearing:

       1.      Class Counsel for Plaintiffs will explain the major features of the proposed settlement

and explain why counsel asserts the proposed settlement meets all legal requirements and is fair,

reasonable and adequate.

       2.      Counsel for Defendant will follow Plaintiffs’ counsel and explain why they assert the

proposed settlement meets all legal requirements and is fair, reasonable and adequate.

       3.      Any settlement class member who has satisfied the requirements for filing objections

set forth in the Order Granting Preliminary Approval of Settlement Agreement, (C.A. No. 2:23-cv-

3147, Dkt. No. 66 at 10-11), may thereafter speak concerning any timely submitted objections. Any

settlement class member who has filed timely objections and wishes to speak at the Fairness Hearing

must provide written notice to the Clerk on or before January 29, 2024.

       4.      Counsel for Plaintiffs and Defendant may thereafter respond, as they deem necessary

and appropriate, to any written objections which have been submitted, regardless of whether the

objector has appeared and spoken at the Fairness Hearing.

       5.      The Court will thereafter address the issues raised by the parties and shortly thereafter

issue a written order.


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      AND IT IS SO ORDERED

January 22, 2024
Charleston, South Carolina
                                                    s/Richard M. Gergel
                                                   Richard M. Gergel
                                                   United States District Judge




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